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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                       Chapter 11

RTI HOLDING COMPANY, LLC,1                                   Case No. 20-12456 (JTD)

                                   Debtors.                  (Jointly Administered)


                                                         Objection Deadline: October 29, 2020 at 4:00 p.m. (ET)
                                                            Hearing Date: November 5, 2020 at 11:00 a.m. (ET)

       DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER: (I) AUTHORIZING
       DEBTORS TO EMPLOY AND RETAIN FOCALPOINT SECURITIES, LLC AS
    INVESTMENT BANKER TO THE DEBTORS NUNC PRO TUNC TO THE PETITION
      DATE, (II) APPROVING THE TERMS OF THE ENGAGEMENT AGREEMENT,
           (III) MODIFYING CERTAIN TIME-KEEPING REQUIREMENTS,
                      AND (IV) GRANTING RELATED RELIEF

                 The debtors and debtors in possession in the above-captioned cases (collectively,

the “Debtors” or the “Company”) hereby apply to the Court (this “Application”), pursuant to

sections 327(a) and 328(a) of title 11 of the United States Code (the “Bankruptcy Code”), Rules



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  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are
as follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD,
LLC (6505); RT of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC
(8738); RT Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity,
LLC (7159); RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC
(6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC
(7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC (4072); RT of Maryland, LLC
(7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT Minneapolis Franchise,
LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New Hampshire
Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817);
RT Orlando Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535);
RT Southwest Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT
Western Missouri Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT
Texas, Inc. (2461); RTTT, LLC (9194); Ruby Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant,
Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby Tuesday of Frederick, Inc. (4249); Ruby Tuesday of
Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby Tuesday of Pocomoke City, Inc. (0472);
Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432). The Debtors’ mailing
address is 333 East Broadway Ave., Maryville, TN 37804.




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2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

Rules 2014-1 and 2016-2(h) of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware (the “Local Rules”), for the entry of

an order, substantially in the form attached as Exhibit A (the “Proposed Order”) (i) authorizing

them to employ and retain FocalPoint Securities, LLC ( “FocalPoint”), as investment banker

nunc pro tunc to the Petition Date (as defined below) in accordance with the terms and

conditions set forth in that certain Amended and Restated Financial Advisory Services

Engagement Letter, dated as of October 9, 2020 (the “Engagement Agreement”), copies of which

are attached as Exhibit 1 to the Order; (ii) approving the terms of the Engagement Agreement,

including the fee and expense structure and the indemnification, contribution, reimbursement and

related provisions set forth therein, (iii) modifying certain information requirements of Local

Rule 2016-2, and (iv) granting related relief. In support of this Application, the Debtors submit

the declaration of Richard F. NeJame (the “NeJame Declaration”), attached hereto as Exhibit B.

In further support of the Application, the Debtors respectfully represent as follows:

                                                Jurisdiction

                 1.          The United States Bankruptcy Court for the District of Delaware (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. This matter is a core proceeding within the meaning of 28

U.S.C. § 157(b)(2), and the Debtors confirm their consent pursuant to Rule 9013-1(f) of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the


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District of Delaware (the “Local Rules”) to the entry of a final order by the Court in connection

with this Application to the extent that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution.

                 2.          Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                 3.          The bases for the relief sought herein are sections 327(a) and 328(a) of the

Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016, and Local Rules 2014-1 and 2016-2(h).

                                                 Background

                 4.          On October 7, 2020 (the “Petition Date”), the Debtors each commenced

with this Court a voluntary case under Chapter 11 of the Bankruptcy Code. The Debtors

continue to operate their businesses and manage their properties as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee, examiner, or

statutory committee of creditors has been appointed in these chapter 11 cases.

                 5.          The Debtors develop, operate, and franchise casual dining restaurants in

the United States, Guam, and five foreign countries under the Ruby Tuesday® brand. The

company-owned and operated restaurants (i.e., non-franchise) are concentrated primarily in the

Southeast, Northeast, Mid-Atlantic and Midwest regions of the United States.

                 6.          A more detailed description of the Debtors’ business and operations, and

the events leading to the commencement of these chapter 11 cases, is provided in the

Declaration of Shawn Lederman, Chief Executive Officer of Ruby Tuesday, Inc., in Support of




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First Day Pleadings [Docket No. 3] (the “First Day Declaration”), and incorporated herein by

reference.2

                                                  Relief Requested

                    7.       By this Application, pursuant to sections 327(a) and 328(a) of the

Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016, and Local Rules 2014-1 and 2016-2(h),

the Debtors request authority to appoint and retain FocalPoint as their investment banker in the

Debtors’ chapter 11 cases in accordance with the terms and conditions set forth in the

Engagement Agreement, effective as of the Petition Date.

                    8.       The Debtors are pursuing a restructuring of their operations and financial

affairs pursuant to the terms set forth in a Restructuring Support Agreement, dated October 8,

2020 (“RSA”), which contemplates “parallel paths” involving a plan of reorganization as well as

a marketing and sale process regarding the disposition of the Debtors’ business as a going

concern. The RSA requires the Debtors to employ FocalPoint to spearhead this marketing and

sale process, which is a critical element in ensuring that the chapter 11 cases result in

maximizing value for creditors. The RSA also contemplates the potential for seeking alternative

Exit Financing sources, for which FocalPoint also will be responsible.

                                           FocalPoint’s Qualifications

                    9.       In light of the size and complexity of these cases, the Debtors require a

qualified and experienced investment banker with the resources, capabilities, and experience of



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    Capitalized terms not otherwise defined herein shall have the same meanings set forth in the First Day Declaration.




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FocalPoint to assist them in pursuing the transactions that are crucial to the success of the

Debtors’ cases. Investment banking expertise, such as the expertise provided by FocalPoint, is a

necessary, vital, and critical service that will complement the services provided by the Debtors’

other professionals, without duplication. The Debtors believe the retention of FocalPoint as

their investment banker is in the best interest of their estates and will inure to the benefit of all

parties in interest because, among other things, FocalPoint has extensive experience in, and an

excellent reputation for, providing investment banking services to debtors in bankruptcy

reorganizations and other restructurings and has provided services to the Debtors prior to the

Petition Date.

                 10.         FocalPoint, and in particular Mr. NeJame, who is the Managing Director,

has extensive experience advising leveraged and distressed corporate clients, as well as

institutional, private equity, and other investing clients. Mr. NeJame’s experience spans a broad

array of transactions, with an emphasis on bespoke financing structures, liability management,

and recapitalization transactions effected through both chapter 11 and out-of-court processes.

During his career, Mr. NeJame has executed more than $100B in aggregated transaction value

involving approximately 75 deals.

                 11.         The partners and associates of FocalPoint have considerable expertise in

the fields of bankruptcy, insolvency, reorganizations, liquidations, valuation, and debt

restructuring, among other expertise. FocalPoint is a leading, independent middle market

investment bank with approximately fifty professionals in Chicago, Los Angeles, New York, and




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Shanghai. The principals of FocalPoint have extensive experience representing financially

distressed companies in both bankruptcy proceedings and out of-court transactions.

                 12.         Considering the RSA’s requirement of a marketing a sale process to move

forward simultaneously with the Debtors’ pursuit of confirmation of their Plan and the

importance of obtaining the best Exit Financing terms to allow the Debtors to flourish as a

going-forward business, the Debtors seek this Court’s approval of FocalPoint’s retention. The

Debtors believe that FocalPoint is well qualified and uniquely situated to serve as their

investment banker in these chapter 11 cases.

                 13.         FocalPoint’s professionals have assisted and advised parties in numerous

chapter 11 proceedings. In particular, they have provided services to debtors, creditors’

committees, and other constituencies in chapter 11 cases, including: Omni Facility Services

(Bankr. S.D.N.Y.); Chart Industries, Inc. (Bankr. D. Del.); Delphi Corporation (Bankr.

S.D.N.Y.); Pull’R Holdings, LLC (Bankr. C.D. Cal.); Gas City, Ltd. (Bankr. N.D. Ill.);

Michael’s Market, Inc. (Bankr. N.D. Ill.); Natural Pork Production II, LP (Bankr. S.D. Iowa);

Constar International Holdings, LLC (Bankr.); Valuepart, Inc. (Bankr. N.D. Tex.); Chellino

Crane, Inc. (Bankr. N.D. Ill.); Schramm, Inc. (Bankr. D. Del.); and Loot Crate, Inc. (Bankr. D.

Del.).

                 14.         Additionally, FocalPoint is already familiar with the Debtors’ operations

and assets. As discussed more fully in the NeJame Declaration, the Debtors first engaged

FocalPoint on June 4, 2020. Since that date, FocalPoint has worked with the Debtors, and the

Debtors’ other professionals, to provide the services outlined below. Thus, FocalPoint is already


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knowledgeable about the Debtors’ business and is well-suited to provide the investment banking

services to the Debtors that are contemplated by the Engagement Agreement and described

herein.

                                          Services to Be Provided

                 15.         Subject to the approval of the Court, the contemplated terms and

conditions of FocalPoint’s engagement in these cases are set forth in the Engagement

Agreement, dated as of October 9, 2020. These terms were negotiated at arm’s length between

the Debtors and FocalPoint and reflect the parties’ mutual agreement as to the substantial efforts

that will be required by FocalPoint in this engagement. In consideration for the compensation

contemplated in the Engagement Agreement, FocalPoint has provided and has agreed to provide

the following services (the “Services”) in these cases:3

                             (a)    assist the Company in evaluating, structuring, negotiating and
                                    implementing the terms (including pricing) and conditions of any
                                    proposed transaction, including any proposed sale, any potential
                                    restructuring or any financing (any of the foregoing, a
                                    “Transaction”;

                             (b)    assist the Company in preparing, revising, or updating marketing
                                    materials;

                             (c)    prepare, revise, or update a list or lists of potential purchasers and
                                    financiers;




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  The summary of the Engagement Agreement in this Application is qualified in its entirety by reference to the
provisions of the Engagement Agreement. To the extent that there is any discrepancy between the summary
contained herein and the terms set forth in the Engagement Agreement, the terms of the Engagement Agreement
shall govern and control. Capitalized terms used in describing the terms of the Engagement Agreement, but not
otherwise defined herein, shall have the meanings given to such terms in the Engagement Agreement.




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                             (d)    contact potential purchasers to solicit their interest in any
                                    Transaction and to provide them with the confidential information
                                    memorandum under a confidential disclosure agreement;

                             (e)    compile and disseminate due diligence materials to prospective
                                    purchasers and maintain a secure data vault for review of due
                                    diligence materials;

                             (f)    participate in due diligence visits, meetings and consultations
                                    between the Company and interested potential purchasers, and
                                    coordinate and track distribution of all information related to a
                                    Transaction with such parties;

                             (g)    assist the Company with evaluating offers, indications of interest,
                                    negotiating agreements and definitive contracts;

                             (h)    determine a range of values for the Company and any instruments
                                    that the Company offers or proposes to offer in connection with a
                                    restructuring;

                             (i)    evaluate the Company’s debt capacity in light of its projected cash
                                    flows and assist in the determination of an appropriate capital
                                    structure for the Company;

                             (j)    attend auctions and upon request, attend meeting of the Company’s
                                    Board of Directors (or equivalent body) and its committees,
                                    creditor groups, official constituencies and other interested parties,
                                    as necessary; and

                             (k)    to the extent required, provide affidavits and other testimony in
                                    support of Debtors’ motions in the Bankruptcy Court, with respect
                                    to any matters in connection with or arising out of the foregoing or
                                    the Original Agreement.


                 16.         To the extent the Debtors request FocalPoint to perform additional

services not contemplated by the Engagement Agreement, such services and the fees for such

services will be mutually agreed upon by FocalPoint and the Debtors, in writing, in advance and

subject to Court approval.

                 17.         The Services being provided to the Debtors are necessary to assist the

Debtors in determining the most optimal and value-maximizing strategy in these chapter 11


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cases. The resources, capabilities, and experience of FocalPoint in advising the Debtors are

important to the Debtors’ chapter 11 efforts. As a highly-qualified investment banker,

FocalPoint fulfills a critical need, which complements the services offered by the Debtors’ other

restructuring professionals.

                                         Professional Compensation

                 18.         In consideration of the Services, and as more fully described in the

Engagement Agreement, subject to the Court’s approval, the Debtors have agreed to pay

FocalPoint the proposed compensation (the “Professional Fees and Expenses”) set forth in the

Engagement Agreement, which is summarized below:

                             (a)    Commencing as of the date of the Original Agreement, whether or
                                    not a Transaction is proposed or consummated, an advisory fee
                                    (the “Monthly Advisory Fee”) of $50,000 per month during the
                                    term hereof. Pursuant to that certain engagement agreement
                                    between FocalPoint and the Debtors dated as of June 4, 2020 (the
                                    “Original Agreement”), the Company has paid five (5) Monthly
                                    Advisory Fees and pursuant to the Engagement Agreement, the
                                    next Monthly Advisory Fee is earned, due and payable on
                                    November 4, 2020. Thereafter, a Monthly Advisory Fee shall be
                                    earned, due and payable on each monthly anniversary of such date.

                             (b)    A fee (the “Completion Fee”) of $600,000, payable upon the
                                    earlier of: (a) the completion of any restructuring including,
                                    without limitation, the confirmation and effectiveness of a plan of
                                    reorganization (a “Plan”); or (b) the closing of any restructuring or
                                    sale transaction, provided that the Completion Fee shall be fully
                                    creditable against any financing fee or against any sale fee without
                                    duplication. or sale transaction.

                             (c)    In the event that the Company consummates a financing (the
                                    “Financing”), a financing fee (the “Financing Fee”) shall be paid
                                    either as underwriting discounts, placement fees or other
                                    compensation upon the closing of any Financing equal to the
                                    greater of (i) $600,000 and (ii) the sum of:




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                                               i. 2.00% of the gross amount of funder or committed
                                                  straight indebtedness that is secured by a first lien
                                                  up to $40 million;

                                              ii. 3.00% of (i) the gross amount of funded or
                                                  committed straight indebtedness that is secured by a
                                                  first lien in excess of $40 million and (ii) the gross
                                                  amount of any other funded or committed straight
                                                  indebtedness that is not secured by a first lien; and

                                             iii. 5.25% of the gross amount of any funded or
                                                  committed preferred or common equity, convertible
                                                  or otherwise equity-linked debt or equity securities
                                                  or obligations.

                                             iv. Any amounts advanced, or committed to, by the
                                                 Company’s existing lenders – Goldman Sachs
                                                 Specialty Lending Group and TCW/Crescent
                                                 Mezzanine – or by NRD Capital Management or its
                                                 affiliates (to include LPs of its various investment
                                                 funds), or funds that the Company may directly
                                                 source with its own efforts via a governmental
                                                 lending program (such as the Main Street Lending
                                                 Program under the CARES Act) shall be excluded
                                                 in calculating any Financing Fee.

                             (d)   In the event that the Company consummates a sale (a “Sale”), a fee
                                   (the “Sale Fee”) shall be paid upon the closing of any Sale equal
                                   to the greater of (i) $600,000 and (ii) 2.5% of the transaction value.

                             (e)   The Company and FocalPoint acknowledge that, pursuant to the
                                   Engagement Agreement, FocalPoint may become entitled to either
                                   a Financing Fee or Sale Fee, but not both.

                             (f)   FocalPoint shall credit 50% of the first four Monthly Advisory
                                   Fees paid to Focal Point against any Financing Fee or Sale Fee,
                                   without duplication.

                             (g)   Expenses will be invoiced separately by FocalPoint each month
                                   and will be reimbursed by the Company in accordance with
                                   Appendix A to the Engagement Agreement, in addition to the fees
                                   set forth above. The expenses incurred will consist of, but are not
                                   limited to, postage and shipping charges, use of third-party
                                   databases, telephone copying, facsimiles, printing, travel, lodging,
                                   overtime meals, transportation, and other miscellaneous
                                   engagement expenses, including, but not limited to, the reasonable
                                   fees and expenses of its outside legal counsel incurred in
                                   connection with the performance of the Engagement Agreement
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                                    and the matters contemplated therewith. FocalPoint shall not incur
                                    more than $15,000 of expenses without the Company’s
                                    preapproval.


                 19.         FocalPoint’s strategic and financial expertise as well as its capital markets

knowledge, financing skills, restructuring capabilities and mergers and acquisitions expertise,

some or all of which may be required by the Debtors during the term of FocalPoint’s engagement

hereunder, were important factors in determining the Fee and Expense Structure. The Debtors

believe that the ultimate benefit of FocalPoint’s services hereunder cannot be measured

by reference to the number of hours to be expended by FocalPoint's professionals in the

performance of such services.

                 20.         FocalPoint has not shared or agreed to share any compensation to be paid

by the Debtors with any other person, other than other principals and employees of FocalPoint,

in accordance with section 504 of the Bankruptcy Code.

                 21.         In sum, in light of the foregoing and given the numerous issues which

FocalPoint may be required to address in the performance of its services hereunder, FocalPoint’s

commitment to the variable level of time and effort necessary to address all such issues as they

arise, and the market prices for FocalPoint’s services for engagements of this nature both out-of-

court and in a chapter 11 context, the Debtors believe that the Fee and Expense Structure is

market-based and fair and reasonable under the standards set forth in section 328(a) of the

Bankruptcy Code.

                 22.         Accordingly, as more fully described below, the Debtors believe that this

Court should approve FocalPoint’s retention subject to the standard of review set forth in section



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328(a) of the Bankruptcy Code and that FocalPoint’s compensation should not be subject to any

additional standard of review under section 330 of the Bankruptcy Code.

                                              Indemnification

                 23.         As part of the overall compensation payable to FocalPoint under the terms

of the Engagement Agreement, the Debtors have agreed to certain indemnification and

contribution obligations as described in the Original Agreement, the Engagement Agreement and

“Appendix A” attached thereto (the “Indemnification Provision”). The Indemnification

Provision provides, among other things, that the Debtors will indemnify and hold harmless

FocalPoint and its affiliates and their respective past, present and future directors, officers,

shareholders, partners, members, employees, agents, representatives, advisors, subcontractors

and controlling persons (collectively the “Indemnified Parties”) from and against any and all

claims, losses, damages, expenses or liabilities, joint or several, arising out of or related to the

Original Agreement or Engagement Agreement, subject to customary carve outs for gross

negligence, bad faith, or intentional misconduct of FocalPoint. Both the Debtors and FocalPoint

believe that such provisions are customary and reasonable for investment banking engagements,

both out-of- court and in chapter 11 cases. The terms of the Indemnification Provision are

similar to indemnification terms that have been previously approved by the Court and other

bankruptcy courts in other large chapter 11 cases.

                 24.         The Debtors and FocalPoint fully negotiated the terms of the Engagement

Agreement and the Indemnification Provision at arm’s length, and the Debtors respectfully

submit that the terms of the Indemnification Provision are reasonable and in the best interests of


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the Debtors, their estates, and creditors. Accordingly, as part of this Application, the Debtors

request that this Court approve the terms of the Engagement Agreement and Appendix “A”

attached thereto.

                                         No Duplication of Services

                 25.         In addition to this Application, the Debtors have applied, or anticipate that

they will apply, to the Court to retain, among others, (a) Pachulski Stang Ziehl & Jones LLP, as

bankruptcy counsel, (b) CR3 Partners, LLC, as financial advisor, and (c) Hilco Real Estate, LLC,

as lease consultant; and (d) Epiq Corporate Restructuring, LLC as claims and noticing agent and

administrative advisor. The Debtors are mindful of the need to avoid duplication of services and

the Debtors understand that FocalPoint will use its reasonable efforts to work cooperatively with

the Debtors’ other professionals to integrate any respective work performed by those

professionals on behalf of the Debtors. The Debtors believe that FocalPoint’s services will not

duplicate the efforts of the other professionals retained by the Debtors in these cases.

             Record-Keeping Requirements and Modification of Local Rule 2016-2

                 26.         It is not the general practice of investment banking firms, including

FocalPoint, to keep detailed time records similar to those customarily kept by attorneys and

required by Local Rule 2016-2(d). Because FocalPoint does not ordinarily maintain

contemporaneous time records in one-tenth hour (.10) increments or provide or conform to a

schedule of hourly rates for its professionals, the Debtors request pursuant to Local Rule

2016-2(h) that FocalPoint be excused from compliance with the requirements under Local Rule

2016-2(d). Instead, FocalPoint proposes to maintain records of services rendered for the


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Debtors, including summary descriptions of those services, the approximate time expended in

providing those services (in half-hour (.5) increments) and the identity of the individuals who

provided those services. FocalPoint will include such records in its fee applications.

                 27.         FocalPoint will also maintain detailed records of any actual and necessary

costs and expenses incurred in connection with the aforementioned services. FocalPoint’s

applications for compensation and expenses will be paid by the Debtors, pursuant to the terms of

the Engagement Agreement, in accordance with the procedures established by the Court.

                 28.         Bankruptcy courts in this and other jurisdictions have approved similar

waivers to the one requested in this Application. See, e.g., In re M&G USA Corp., Case No. 17-

12307 (BLS) (Bankr. D. Del. Dec. 1, 2017); In re GenOn Energy, Inc., No. 17-33695 (DRJ)

(Bankr. S.D. Tex, July 14, 2017); In re rue21, inc., No. 17-22045 (GLT) (Bankr. W.D. Pa. June

28, 2017); In re Answers Holdings, Inc., No. 17-10496 (SMB) (Bankr. S.D.N.Y. Apr. 7, 2017);

In re Ultra Petroleum Corp., No. 16-32202 (MI) (Bankr. S.D. Tex. June 20, 2016); In re Sports

Auth. Holdings, Inc., No. 16-10527 (MFW) (Bankr. D. Del. Mar. 29, 2016).

                                              Disinterestedness

                 29.         As more fully set forth in the NeJame Declaration, prior to filing this

application, the Debtors’ counsel provided FocalPoint with a list of Potential Parties in Interest,

which is the same list the Debtors’ counsel used to search for potential conflicts in connection

with its retention application. FocalPoint ran the list of Potential Parties in Interest through its

database and also sent an email to all FocalPoint personnel to determine if FocalPoint had any

connections with the Potential Parties in Interest.


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                 30.         To the best of the Debtors’ knowledge, information and belief as of the

date hereof, FocalPoint(a) is a “disinterested person,” as such term is defined in section 101(14)

of the Bankruptcy Code and as required under section 327(a) of the Bankruptcy Code and, as set

forth in further detail in the NeJame Declaration, (b) does not hold or represent an interest

materially adverse to Debtors’ estates and (c) has no connection to the Debtors, their creditors,

shareholders or other parties in interest, except as disclosed in the NeJame Declaration.

                 31.         During the 90-day period before the Petition Date, FocalPoint received

$216,439.92 in respect of fees and expenses. In accordance with the terms of its Engagement

Agreement, FocalPoint’s next Monthly Advisory Fee is earned, due and payable in the amount of

$50,000.00 on November 4, 2020.

                                               Basis for Relief

A.      The Debtors Should Be Permitted to Employ and Retain FocalPoint on the Terms of
        the Engagement Agreement Pursuant to Sections 327 and 328 of the Bankruptcy
        Code

                 32.         The Debtors seek approval of FocalPoint’s retention and compensation

structure pursuant to sections 327(a) and 328(a) of the Bankruptcy Code Section 327(a) of the

Bankruptcy Code provides, in relevant part, as follows:

                 Except as otherwise provided in this section, the [Debtors], with
                 the court’s approval, may employ one or more attorneys,
                 accountants, appraisers, auctioneers, or other professional persons,
                 that do not hold or represent an interest adverse to the estate, and
                 that are disinterested persons, to represent or assist the [Debtors] in
                 carrying out [their] duties under this title.


11 U.S.C. § 327(a).



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                 33.         Section 1107(b) of the Bankruptcy Code elaborates upon sections 101(14)

and 327(a) of the Bankruptcy Code in cases under chapter 11 of the Bankruptcy Code and

provides that “a person is not disqualified for employment under section 327 of [the Bankruptcy

Code] by a debtor in possession solely because of such person’s employment by or

representation of the debtor before the commencement of the case.” 11 U.S.C. § 1107(b).

                 34.         Section 328(a) of the Bankruptcy Code provides, in pertinent part, that a

debtor “with the court’s approval, may employ or authorize the employment of a professional

person under section 327 . . . on any reasonable terms and conditions of employment, including

on a retainer, on an hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis.”

11 U.S.C. § 328(a). Thus, section 328(a) of the Bankruptcy Code permits the compensation of

professionals, including financial advisors and investment banking firms, on more flexible terms

that reflect the nature of their services and market conditions.

                 35.         As discussed above and as set forth in the NeJame Declaration, FocalPoint

satisfies the disinterestedness standard in section 327(a) of the Bankruptcy Code. Additionally,

given the numerous issues that FocalPoint may be required to address in the performance of the

services for the Debtors pursuant to the Engagement Agreement, FocalPoint’s commitment to

the variable level of time and effort necessary to address all such issues as they arise and the

market prices for FocalPoint’s services for engagements of this nature, the Debtors believe that

the terms and conditions of the Engagement Agreement are fair, reasonable and market-based

under the standards set forth in section 328(a) of the Bankruptcy Code.




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                 36.         Similar fixed and contingency fee arrangements have been approved and

implemented by courts in this and other districts in other large chapter 11 cases. See, e.g., In re

Cloud Peak Energy Inc., Case No. 19-11047 (KG) (Bankr. D. Del. June 12, 2019); In re M&G

USA Corp., Case No. 17-12307 (BLS) (Bankr. D. Del. Dec. 1, 2017); In re GenOn Energy, Inc.,

No. 17-33695 (DRJ) (Bankr. S.D. Tex., July 14, 2017); In re rue21, Inc., No. 17-22045 (GLT)

(Bankr. W.D. Pa. June 28, 2017); In re Answers Holdings, Inc., No. 17-10496 (SMB) (Bankr.

S.D.N.Y. Apr. 7, 2017); In re Ultra Petroleum Corp., No. 16-32202 (MI) (Bankr. S.D. Tex.

June 20, 2016); In re Sports Auth. Holdings, Inc., No. 16-10527 (MFW) (Bankr. D. Del. Mar. 29,

2016); In re Alpha Natural Res., Inc., No. 15- 33896 (KRH) (Bankr. E.D. Va. Sept. 17, 2015); In

re Allen Sys. Grp., Inc., No. 15-10332 (KJC) (Bankr. D. Del. Mar. 19, 2015); In re NII Holdings,

Inc., No. 14-12611 (SCC) (Bankr. S.D.N.Y. Oct. 22, 2014); In re Geokinetics Inc., No. 13-10472

(KJC) (Bankr. D. Del. Apr. 2, 2013); In re LCI Holding Co., Inc., No. 12-13319 (KG) (Bankr. D.

Del. Jan. 10, 2013).

B.      Nunc Pro Tunc Relief is Warranted

                 37.         The Debtors believe that the employment of FocalPoint nunc pro tunc to

the Petition Date is warranted under the circumstances of these cases so FocalPoint may be

compensated for its services prior to entry of an order approving FocalPoint’s retention. Further,

the Debtors believe no party in interest will be prejudiced by the granting of the nunc pro tunc

employment because FocalPoint has provided, and will continue to provide, valuable services to

the Debtors’ estates in the interim period.




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                 38.         Courts in this and other districts routinely approve nunc pro tunc

employment similar to that requested herein. See, e.g., In re Cloud Peak Energy Inc., Case

No. 19-11047 (KG) (Bankr. D. Del. June 12, 2019); In re M&G USA Corp., Case No. 17-12307

(BLS) (Bankr. D. Del. Dec. 1, 2017); In re GenOn Energy, Inc., No. 17-33695 (DRJ) (Bankr.

S.D. Tex, July 14, 2017); In re rue21, Inc., No. 17-22045 (GLT) (Bankr. W.D. Pa. June 28,

2017); In re Answers Holdings, Inc., No. 17-10496 (SMB) (Bankr. S.D.N.Y. Apr. 7, 2017); In re

Ultra Petroleum Corp., No. 16-32202 (MI) (Bankr. S.D. Tex. June 20, 2016); In re Sports Auth.

Holdings, Inc., No. 16-10527 (MFW) (Bankr. D. Del. Mar. 29, 2016).

C.      The Retention of FocalPoint Is Critical to the Debtors’ Chapter 11 Efforts.

                 39.         The Debtors submit that the retention of FocalPoint is in the best interest

of all parties in interest in these cases. FocalPoint is a preeminent investment banking firm that is

intimately familiar with the Debtors’ businesses. Denial of the relief requested herein will result

in the Debtors’ breach of the RSA and deprive the Debtors of the assistance of a uniquely

qualified investment banking advisor and would be disadvantageous to the Debtors and all

parties in interest. The Debtors remain in need of investment banking services to perform

analysis, engage the marketplace, and negotiate the terms of one or more potential transactions in

an effort to pursue the most value-maximizing strategy in these cases. Absent FocalPoint’s

retention, the Debtors would likely be required to engage a new investment banker who would

lack FocalPoint’s understanding of the Debtors’ business. A newly-retained investment banking

advisor would require time and resources to get up to speed, which would imperil the Debtors’




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ability to efficiently determine and execute the appropriate strategy in these cases and create

attendant administrative costs for the Debtors’ estates.

                 40.         Moreover, comparable investment bankers that the Debtors would require

in these cases would likely charge an equal or greater amount of fees. Based on services

performed to date, FocalPoint has been integral to preparing the Debtors for these cases. Based

on the foregoing, the Debtors submit they have satisfied the requirements of the Bankruptcy

Code, the Bankruptcy Rules, and the Local Rules to support entry of an order authorizing the

Debtors to retain and employ FocalPoint in these cases on the terms described herein and in the

Engagement Agreement.

                                                     Notice

                 41.         Notice of this Application will be provided to the following parties, or, in

lieu thereof, their counsel, if known: (a) the Office of the United States Trustee; (b) the Debtors’

fifty (50) largest unsecured creditors on a consolidated basis; (c) counsel to Goldman Sachs

Specialty Lending Group, LP (as administrative and collateral agent); and (d) any party that has

requested notice pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). The

Debtors submit that no other or further notice need be provided.

                                              No Prior Request

                 42.         No prior request for the relief sought herein has been made to this Court or

any other court.
                                        [Remainder of page left blank]




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                 WHEREFORE, the Debtors respectfully request that the Court enter the Proposed

Order and grant such other and further relief as may be appropriate.

Respectfully submitted,



Dated: October 13, 2020



                                                         Ruby Tuesday, Inc., et al.


                                                       By:____________________________
                                                        Shawn Lederman
                                                        Its Chief Executive Officer




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